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                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

                Plaintiff,                          Case No. 1:13-cr-232-BLW

       v.                                           ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
JOSE MISAEL AYALA-TALAVERA,

                Defendant.



       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 45). On February 13, 2014, Defendant JOSE MISAEL AYALA-

TALAVERA appeared before the Magistrate Judge to enter a change of plea pursuant to

a written plea agreement. The Magistrate Judge conducted the plea hearing and

concluded there is a factual basis for Defendant’s admission to forfeiture and plea of

guilty to the charges contained in Counts One (1), Three (3), and Five (5) of the

Indictment (Dkt. 1), and that they were entered voluntarily and with full knowledge of the

consequences. No objections to the Report and Recommendation have been filed.

       The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the

result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,


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       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 45) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Counts One (1), Three (3), and Five (5) of the Indictment (Dkt. 1), shall be,

and the same is hereby, ACCEPTED by the Court as a knowing and voluntary plea

supported by an independent basis in fact containing each of the essential elements of the

offense.

       IT IS FURTHER ORDERED that Defendant JOSE MISAEL AYALA-

TALAVERA is found to be GUILTY as to the applicable crimes charged in the

Indictment.(Dkt. 1).

                                   DATED: March 5, 2014



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




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